Case 2:10-md-02179-CJB-DPC Document 8963-19 Filed 03/20/13 Page 1 of 29




                   Exhibit 10B
Case 2:10-md-02179-CJB-DPC Document 8963-19 Filed 03/20/13 Page 2 of 29
Case 2:10-md-02179-CJB-DPC Document 8963-19 Filed 03/20/13 Page 3 of 29
Case 2:10-md-02179-CJB-DPC Document 8963-19 Filed 03/20/13 Page 4 of 29
Case 2:10-md-02179-CJB-DPC Document 8963-19 Filed 03/20/13 Page 5 of 29
Case 2:10-md-02179-CJB-DPC Document 8963-19 Filed 03/20/13 Page 6 of 29
Case 2:10-md-02179-CJB-DPC Document 8963-19 Filed 03/20/13 Page 7 of 29
Case 2:10-md-02179-CJB-DPC Document 8963-19 Filed 03/20/13 Page 8 of 29
Case 2:10-md-02179-CJB-DPC Document 8963-19 Filed 03/20/13 Page 9 of 29
Case 2:10-md-02179-CJB-DPC Document 8963-19 Filed 03/20/13 Page 10 of 29
Case 2:10-md-02179-CJB-DPC Document 8963-19 Filed 03/20/13 Page 11 of 29
Case 2:10-md-02179-CJB-DPC Document 8963-19 Filed 03/20/13 Page 12 of 29
Case 2:10-md-02179-CJB-DPC Document 8963-19 Filed 03/20/13 Page 13 of 29
Case 2:10-md-02179-CJB-DPC Document 8963-19 Filed 03/20/13 Page 14 of 29
Case 2:10-md-02179-CJB-DPC Document 8963-19 Filed 03/20/13 Page 15 of 29
Case 2:10-md-02179-CJB-DPC Document 8963-19 Filed 03/20/13 Page 16 of 29
Case 2:10-md-02179-CJB-DPC Document 8963-19 Filed 03/20/13 Page 17 of 29
Case 2:10-md-02179-CJB-DPC Document 8963-19 Filed 03/20/13 Page 18 of 29
Case 2:10-md-02179-CJB-DPC Document 8963-19 Filed 03/20/13 Page 19 of 29
Case 2:10-md-02179-CJB-DPC Document 8963-19 Filed 03/20/13 Page 20 of 29
Case 2:10-md-02179-CJB-DPC Document 8963-19 Filed 03/20/13 Page 21 of 29
Case 2:10-md-02179-CJB-DPC Document 8963-19 Filed 03/20/13 Page 22 of 29
Case 2:10-md-02179-CJB-DPC Document 8963-19 Filed 03/20/13 Page 23 of 29
Case 2:10-md-02179-CJB-DPC Document 8963-19 Filed 03/20/13 Page 24 of 29
Case 2:10-md-02179-CJB-DPC Document 8963-19 Filed 03/20/13 Page 25 of 29
Case 2:10-md-02179-CJB-DPC Document 8963-19 Filed 03/20/13 Page 26 of 29
Case 2:10-md-02179-CJB-DPC Document 8963-19 Filed 03/20/13 Page 27 of 29
Case 2:10-md-02179-CJB-DPC Document 8963-19 Filed 03/20/13 Page 28 of 29
Case 2:10-md-02179-CJB-DPC Document 8963-19 Filed 03/20/13 Page 29 of 29
